           4:16-bk-16358 Doc#: 250 Filed: 08/01/22 Entered: 08/01/22 12:56:23 Page 1 of 3
     Fill in this information to identify the case:

     Debtor 1              FREDRICK L HARRIS SR


     Debtor 2              ADRIENNE R HARRIS
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Eastern District of Arkansas
                                                                                    (State)
     Case Number:          4:16-bk-16358 J




Form 4100N
Notice of Final Cure Payment                                                                                                         10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                   PennyMac Loan Services, LLC                                              16

 Last 4 digits of any number you use to identify the debtor's account                         9   5   3   0

 Property Address:                              720 Belaire
                                                Benton, AR 72015




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                            Amount

 a. Allowed prepetition arrearage:                                                                                    (a)   $         -0-

     b. Prepetition arrearage paid by the trustee :                                                                   (b)   $         -0-

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):               (c)   $         -0-

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)                (d)   $         -0-
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                               (e)   $         -0-

 f.       Postpetition arrearage paid by the trustee :                                                              + (f)   $         -0-

     g. Total. Add lines b, d, and f.                                                                                 (g)   $         -0-



 Part 3:             Postpetition Mortgage Payment

 Check one

 ¨ Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                   $
         The next postpetition payment is due on                    /    /
                                                                MM / DD / YYYY

 ý Mortgage is paid directly by the debtor(s).


Form 4100N                                                        Notice of Final Cure Payment                                       page 1
      4:16-bk-16358 Doc#: 250 Filed: 08/01/22 Entered: 08/01/22 12:56:23 Page 2 of 3




Debtor 1     FREDRICK L HARRIS SR                                             Case number   (if known)   4:16-bk-16358 J
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              û/s/ Joyce Bradley Babin
                    Signature
                                                                                 Date    08/01/2022


 Trustee            Joyce Bradley Babin

 Address            Chapter 13 Standing Trustee
                    P O Box 8064
                    Little Rock, AR 72203-8064


 Contact phone      (501) 537-2500                                Email   htreasitti@13ark.com




Form 4100N                                        Notice of Final Cure Payment                                             page 2
      4:16-bk-16358 Doc#: 250 Filed: 08/01/22 Entered: 08/01/22 12:56:23 Page 3 of 3




Debtor 1     FREDRICK L HARRIS SR                                      Case number   (if known)   4:16-bk-16358 J
             Name




                                          CERTIFICATE OF SERVICE

    I, Joyce Bradley Babin, do hereby certify that a copy of the foregoing Notice of Final Cure Payment was served
on the debtor's attorney noted below through Notice of Electronic Filing (ECF) and to other parties listed below by
U.S. Mail on August 01, 2022.


                                                                  /s/ Joyce Bradley Babin
                                                                  Joyce Bradley Babin
                                                                  Standing Chapter 13 Trustee
                                                                  Chapter 13 Standing Trustee
                                                                  P O Box 8064
                                                                  Little Rock, AR 72203-8064
                                                                  (501) 537-2500


FREDRICK L HARRIS SR                                      Matthew D. Mentgen
ADRIENNE R HARRIS                                         P O Box 164439
720 Belaire                                               Little Rock, AR 72216
Benton, AR 72015-3840

PennyMac Loan Services, LLC                               PennyMac Loan Services, LLC
P O Box 660929                                            P O Box 2410
Dallas, TX 75266-0929                                     Moorpark, CA 93020

Pennymac Loan Services
6101 Condor Dr
Moorpark, CA 93021-2602




Form 4100N                                  Notice of Final Cure Payment                                            page 3
